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                                                                        USDC SDNY
UNITED STATES DISTRICT COURT                                            DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALLY FILED
 ------------------------------------------------------------------ X   DOC #: _________________
                                                                    :   DATE FILED: February 14, 2018
 LONG PAINTING COMPANY,                                             :
                                                                    :
                                              Plaintiff,            :
                            -v-                                     :
                                                                    :         17-cv-9975 (KBF)
 GENERAL ELECTRIC COMPANY and                                       :
 ALSTOM RENEWABLE US LLC                                            :              ORDER
                                                                    :
                                              Defendants.           :
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KATHERINE B. FORREST, District Judge:

        The Court must reschedule the initial pretrial conference (“IPTC”) currently

set for Friday, February 23, 2018 at 4:00 p.m. to Thursday, March 1, 2018 at

10:00 a.m.

SO ORDERED.

Dated:           New York, New York
                 February 14, 2018

                                                         ____________________________________
                                                               KATHERINE B. FORREST
                                                               United States District Judge
